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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


NATALIE JOHNSON,

                           Plaintiff,                                         ORDER
      v.
                                                                          19-cv-760-wmc
C.R. BARD INC. and
BARD PERIPHERAL VASCULAR INC.,

                           Defendants.




      Before the court is the parties’ request for ruling on objections to certain deposition

designations as to John McDermott.


 DEPON-          PL        DEF OBJECTIONS               PL RESPONSE TO                  COURT
 ENT             AFFIRM                                 OBJECTIONS                      RULING

 McDermott,                Bard objects to the          Bard chose to market the        OVERRULED
 John                      playing of this deposition   Meridian filter using the
 02/05/2014                under Rules 401, 402 and     510(k) process which relied
                           403. Mr. McDermott left      upon the Recovery filter as
                           BPV in 2007, before the      the predicate. All G2 filter
                           Meridian filter was          platform filters, including
                           manufactured, and his        the Meridian trace their
                           testimony relates to the     design history to the
                           Recovery filter, which is    Recovery filter and the
                           irrelevant in this case.     defects in the Meridian
                           Further, much of this        design only can be
                           testimony relates to         understood only in the
                           Recovery migration           context of the entire filter-
                           deaths and actions taken     line development. Testimony
                           by Bard regarding the        regarding the Recovery, G2
                           Recovery filter.             and Eclipse filter’s
                                                        complications, testing,
                                                        warnings and design are
                                                        relevant and are not unfairly
                                                        prejudicial. Judge Campbell
                                                        agreed with this position in


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                                           Jones v. Bard. [MDL Order
                                           No. 10819]. The failure
                                           modes are relevant to the
                                           assessment of the defects in
                                           the design of the filter
                                           whether a particular failure
                                           mode has occurred; however,
                                           Mrs. John has experienced
                                           tilt, migration,perforation,
                                           and fracture of her filter with
                                           pieces of the device
                                           embolizing to her heart. She
                                           is still at risk fordeath or
                                           serious injury in the future.

McDermott,   9:12-9:17
John
02/05/2014

McDermott,   22:24-
John         23:10
02/05/2014   beginning
             with
             "while
             you
             were…"

McDermott,   24:02-
John         24:05
02/05/2014

McDermott,   24:07
John
02/05/2014

McDermott,   24:09-
John         24:14
02/05/2014

McDermott,   27:14-
John         27:18
02/05/2014

McDermott,   27:21-
John         27:23
02/05/2014


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McDermott,   28:10-
John         28:13
02/05/2014

McDermott,   66:03-
John         66:05
02/05/2014   beginning
             with "did
             you
             ever…"

McDermott,   66:09-
John         66:10
02/05/2014

McDermott,   66:15-      Rules 401, 402, 403.          See Plaintiff's response to    SUSTAIN
John         66:19       Testimony does not            Bard's general objection
02/05/2014               involve filter at issue       above. The testimony is
                         and/or failure modes at       relevant and is not unfairly
                         issue; Irrelevant and any     prejudicial.
                         probative value
                         outweighed by prejudicial
                         effect. This testimony
                         relates to alleged “bad
                         acts” regarding the
                         Recovery that were
                         excluded by MIL.

McDermott,   66:21       Rules 401, 402, 403.          See Plaintiff's response to    SUSTAIN
John                     Testimony does not            Bard's general objection
02/05/2014               involve filter at issue       above. The testimony is
                         and/or failure modes at       relevant and is not unfairly
                         issue; Irrelevant and any     prejudicial.
                         probative value
                         outweighed by prejudicial
                         effect.

McDermott,   66:23-      Rules 401, 402, 403 –         See Plaintiff's response to    SUSTAIN
John         67:05       Testimony relates to          Bard's general objection
02/05/2014               irrelevant and prejudicial    above. The testimony is
                         evidence regarding Bard’s     relevant and is not unfairly
                         conduct related to the        prejudicial.
                         Recovery Filter. Irrelevant
                         and any probative value
                         outweighed by prejudicial
                         effect. If allowed, the



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                         counters are necessary for
                         completeness


McDermott,   69:14-      Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         69:15       Testimony relates to          Bard's general objection
02/05/2014               irrelevant and prejudicial    above. The testimony is
                         evidence regarding Bard’s     relevant and is not unfairly
                         conduct related to the        prejudicial.
                         Recovery Filter. Irrelevant
                         and any probative value
                         outweighed by prejudicial
                         effect. Also, inclomplete
                         answer. The answer
                         continues on lines, 15,16,
                         19 and 21-22

McDermott,   78:22-      Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         79:04       This testimony violates       Bard's general objection
02/05/2014   beginning   the Court’s ruling on         above. The testimony is
                         Recovery migration            relevant and is not unfairly
             with "But
                         deaths. This case does not    prejudicial.
             did
                         involve a fatal migration
             you…"
                         or a Recovery Filter. This
             We are      testimony is overly
             Redacting   prejudicial and has no
             the word    bearing on the facts of
             Death       this case. The Court has
             from        ruled this testimony is not
             78:24.      substantially similar to
                         the facts in this case and,
                         therefore, should be
                         excluded. (See ECF No.
                         204, p. 3-5.)

McDermott,   83:05-      Rule 602 – witness does       See Plaintiff's response to    OVERRULED
John         83:06       not have personal             Bard's general objection
02/05/2014   beginning   knowledge of the              above. The testimony is
                         document. See, 84:4-9.        relevant and is not unfairly
             with
                         Rules 401, 402, 403 –         prejudicial.
             "Exhibit
                         Testimony relates to
             2…"
                         irrelevant and prejudicial
                         evidence regarding Bard’s
                         conduct related to the
                         Recovery Filter. Irrelevant
                         and any probative value




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                          outweighed by prejudicial
                          effect.




McDermott,   83:09-       Rule 602 – witness does       See Plaintiff's response to    OVERRULED
John         84:03        not have personal             Bard's general objection
02/05/2014                knowledge of the              above. The testimony is
                          document. See, 84:4-9.        relevant and is not unfairly
                          Rules 401, 402, 403 –         prejudicial.
                          Testimony relates to
                          irrelevant and prejudicial
                          evidence regarding Bard’s
                          conduct related to the
                          Recovery Filter. Irrelevant
                          and any probative value
                          outweighed by prejudicial
                          effect.

McDermott,   87:03-       Rule 602 – witness does       See Plaintiff's response to    OVERRULED
John         87:05        not have personal             Bard's general objection
02/05/2014                knowledge of the              above. The testimony is
                          document. See, 84:4-9.        relevant and is not unfairly
                          Rules 401, 402, 403 –         prejudicial.
                          Testimony relates to
                          irrelevant and prejudicial
                          evidence regarding Bard’s
                          conduct related to the
                          Recovery Filter. Irrelevant
                          and any probative value
                          outweighed by prejudicial
                          effect.

McDermott,   91:01-       Rule 602 – witness does       See Plaintiff's response to    OVERRULED
John         91:13        not have personal             Bard's general objection
02/05/2014   beginning    knowledge of the              above. The testimony is
                          document. See, 84:4-9.        relevant and is not unfairly
             with "this
                          Counsel is reading from       prejudicial.
             is page…"
                          the document. Rules 401,
                          402, 403 – Testimony
                          relates to irrelevant and
                          prejudicial evidence
                          regarding Bard’s conduct
                          related to the Recovery
                          Filter. Irrelevant and any
                          probative value




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                      outweighed by prejudicial
                      effect.




McDermott,   91:14-   Rule 602 – witness does      See Plaintiff's response to    OVERRULED
John         91:22    not have personal            Bard's general objection
02/05/2014            knowledge of the             above. The testimony is
                      document. See, 84:4-9.       relevant and is not unfairly
                      Rules 401, 402 & 403         prejudicial.
                      (sustained by Judge
                      Campbell) . Rules 401,
                      402, 403 – Testimony
                      relates to irrelevant and
                      prejudicial evidence
                      regarding Bard’s conduct
                      related to the Recovery
                      Filter. Irrelevant and any
                      probative value
                      outweighed by prejudicial
                      effect.

McDermott,   92:03-   Rule 602 – witness does      See Plaintiff's response to    OVERRULED
John         92:18    not have personal            Bard's general objection
02/05/2014            knowledge of the             above. The testimony is
                      document. See, 84:4-9.       relevant and is not unfairly
                      Rules 401, 402 & 403         prejudicial.
                      (sustained by Judge
                      Campbell). Rules 401,
                      402, 403 – Testimony
                      relates to irrelevant and
                      prejudicial evidence
                      regarding Bard’s conduct
                      related to the Recovery
                      Filter. Irrelevant and any
                      probative value
                      outweighed by prejudicial
                      effect.

McDermott,   93:18    Rules 401, 402 & 403         See Plaintiff's response to    SUSTAIN
John                  (sustained by Judge          Bard's general objection
02/05/2014            Campbell). Rules 401,        above. The testimony is
                      402, 403 – Testimony         relevant and is not unfairly
                      relates to irrelevant and    prejudicial.
                      prejudicial evidence
                      regarding Bard’s conduct
                      related to the Recovery
                      Filter. Irrelevant and any

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                          probative value
                          outweighed by prejudicial
                          effect.

McDermott,   93:25-       Rule 602 – there is no       See Plaintiff's response to    SUSTAIN
John         94:01        indication that the          Bard's general objection
02/05/2014   beginning    witness has personal         above. The testimony is
                          knowledge of the             relevant and is not unfairly
             with "So
                          document and counsel is      prejudicial.
             we're
                          simply reading from it.
             on…"
                          Rules 401, 402 & 403
                          (sustained by Judge
                          Campbell). Rules 401,
                          402, 403 – Testimony
                          relates to irrelevant and
                          prejudicial evidence
                          regarding Bard’s conduct
                          related to the Recovery
                          Filter. Irrelevant and any
                          probative value
                          outweighed by prejudicial
                          effect.

McDermott,   94:17-       Rule 602 – there is no       See Plaintiff's response to    SUSTAIN
John         94:18        indication that the          Bard's general objection
02/05/2014   beginning    witness has personal         above. The testimony is
                          knowledge of the             relevant and is not unfairly
             with "It's
                          document and counsel is      prejudicial.
             Bates
                          simply reading from it.
             No…"
                          Rules 401, 402 & 403
                          (sustained by Judge
                          Campbell). Rules 401,
                          402, 403 – Testimony
                          relates to irrelevant and
                          prejudicial evidence
                          regarding Bard’s conduct
                          related to the Recovery
                          Filter. Irrelevant and any
                          probative value
                          outweighed by prejudicial
                          effect. Rules 401, 402,
                          and 403 – testimony
                          concerns what physician
                          would have wanted to
                          know / would expect a




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                          manufacturer to tell
                          him/her.




McDermott,   94:20-       Rule 602 – there is no       See Plaintiff's response to    SUSTAIN
John         95:03        indication that the          Bard's general objection
02/05/2014                witness has personal         above. The testimony is
                          knowledge of the             relevant and is not unfairly
                          document and counsel is      prejudicial.
                          simply reading from it.
                          Rules 401, 402 & 403
                          (sustained by Judge
                          Campbell). Rules 401,
                          402, 403 – Testimony
                          relates to irrelevant and
                          prejudicial evidence
                          regarding Bard’s conduct
                          related to the Recovery
                          Filter. Irrelevant and any
                          probative value
                          outweighed by prejudicial
                          effect.

McDermott,   98:06-       Rules 401, 402 & 403.                                       SUSTAIN
John         98:10        (sustained by Judge
02/05/2014                Campbell).

McDermott,   98:14-       Rule 602 – witness has no                                   SUSTAIN
John         98:20        personal knowledge of the
02/05/2014   beginning    document and is simply
                          agreing that counsel is
             with
                          reading it correctly.
             "Isn't
             that…"

McDermott,   101:10-      Rules 401, 402 & 403.                                       SUSTAIN
John         101:14       This is not a question.
02/05/2014                Counsel is testifying.

McDermott,   105:22-      Rules 401, 402, 403 –        See Plaintiff's response to    SUSTAIN
John         106:01       Testimony relates to         Bard's general objection
02/05/2014   beginning    irrelevant and prejudicial   above. The testimony is
                          evidence regarding Bard’s    relevant and is not unfairly
             with "this
                          conduct related to the       prejudicial.
             was…"

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             ending      Recovery Filter. Irrelevant
             with        and any probative value
             "Yeah."     outweighed by prejudicial
                         effect. Again, counsel is
                         testifying and the witness
                         is confirming what was
                         read.

McDermott,   107:15-     Rules 401, 402, 403 –         See Plaintiff's response to    SUSTAIN
John         108:14      Testimony relates to          Bard's general objection
02/05/2014               irrelevant and prejudicial    above. The testimony is
                         evidence regarding Bard’s     relevant and is not unfairly
                         conduct related to the        prejudicial.
                         Recovery Filter. Irrelevant
                         and any probative value
                         outweighed by prejudicial
                         effect. Again, counsel is
                         testifying and the witness
                         is confirming what was
                         read.

McDermott,   108:23-     Rules 401, 402, 403 –         See Plaintiff's response to    SUSTAIN
John         109:05      Testimony relates to          Bard's general objection
02/05/2014   beginning   irrelevant and prejudicial    above. The testimony is
                         evidence regarding Bard’s     relevant and is not unfairly
             with "is
                         conduct related to the        prejudicial.
             there
                         Recovery Filter. Irrelevant
             any…"
                         and any probative value
                         outweighed by prejudicial
                         effect. Again, counsel is
                         testifying and the witness
                         is confirming what was
                         read.

McDermott,   111:16-     This testimony relates to     See Plaintiff's response to    OVERRULED
John         111:20      the Reecovery filter and      Bard's general objection
02/05/2014               alleged bad acts regarding    above. The testimony is
                         the Recovery filter. Rules    relevant and is not unfairly
                         401, 402, 403 –               prejudicial.
                         Testimony relates to
                         irrelevant and prejudicial
                         evidence regarding Bard’s
                         conduct related to the
                         Recovery Filter. Irrelevant
                         and any probative value
                         outweighed by prejudicial
                         effect.



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McDermott,   111:23         Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John                        Testimony relates to          Bard's general objection
02/05/2014                  irrelevant and prejudicial    above. The testimony is
                            evidence regarding Bard’s     relevant and is not unfairly
                            conduct related to the        prejudicial.
                            Recovery Filter. Irrelevant
                            and any probative value
                            outweighed by prejudicial
                            effect.

McDermott,   112:01-        Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         112:02         Testimony relates to          Bard's general objection
02/05/2014                  irrelevant and prejudicial    above. The testimony is
                            evidence regarding Bard’s     relevant and is not unfairly
                            conduct related to the        prejudicial.
                            Recovery Filter. Irrelevant
                            and any probative value
                            outweighed by prejudicial
                            effect. To the extent this
                            testimony is allowed the
                            counters are necessary for
                            completeness.

McDermott,   112:12-        Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         112:14         This testimony violates       Bard's general objection
02/05/2014   start at "it   the Court’s ruling on         above. The testimony is
                            Recovery migration            relevant and is not unfairly
             became"
                            deaths. Testimony does        prejudicial.
             end at "in
                            not involve filter at issue   Plaintiff will redact "I
             2004"
                            and/or failure mode at        showed you that remedial
                            issue; Irrelevant and any     action plan where there was
                            probative value               that second reported death”
                            outweighed by prejudicial     from 112:14-15 as indicated
                            effect. This case does not
                            involve a fatal migration
                            or a Recovery Filter. The
                            Court has ruled this
                            testimony is not
                            substantially similar to
                            the facts in this case and,
                            therefore, should be
                            excluded. (See ECF No.
                            204, p. 3-5.)




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McDermott,   112:15-      Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         112:18       This testimony violates       Bard's general objection
02/05/2014   Start at     the Court’s ruling on         above. The testimony is
                          Recovery migration            relevant and is not unfairly
             "that the"
                          deaths. Testimony does        prejudicial.
                          not involve filter at issue   Plaintiff will redact "I
                          and/or failure mode at        showed you that remedial
                          issue; Irrelevant and any     action plan where there was
                          probative value               that second reported death”
                          outweighed by prejudicial     from 112:14-15 as indicated
                          effect. This case does not
                          involve a fatal migration
                          or a Recovery Filter. The
                          Court has ruled this
                          testimony is not
                          substantially similar to
                          the facts in this case and,
                          therefore, should be
                          excluded. (See ECF No.
                          204, p. 3-5.)

McDermott,   112:20-      Rules 401, 402, 403 –         See Plaintiff's response to    OVERRULED
John         112:22       This testimony violates       Bard's general objection
02/05/2014                the Court’s ruling on         above. The testimony is
                          Recovery migration            relevant and is not unfairly
                          deaths. Testimony does        prejudicial.
                          not involve filter at issue
                          and/or failure mode at
                          issue; Irrelevant and any
                          probative value
                          outweighed by prejudicial
                          effect. This case does not
                          involve a fatal migration
                          or a Recovery Filter. This
                          testimony is overly
                          prejudicial and has no
                          bearing on the facts of
                          this case. The Court has
                          ruled this testimony is not
                          substantially similar to
                          the facts in this case and,
                          therefore, should be
                          excluded. (See ECF No.
                          204, p. 3-5.)




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McDermott,   143:09-     No foundation, calls for                                    OVERRULED
John         144:01      speculation.                                                but strike lines
02/05/2014                                                                           143:15 and
                                                                                     143:25.

McDermott,   190:11-     Rules 601 & 602. The         see Plaintiff's response to    OVERRULED
John         190:16      witness testified he was     Bard's general objection
02/05/2014   beginning   not involved in the          above. Further, the
                         creation of this document    testimony of the witness
             with "I
                         and has no personal          esrablished his knowledge of
             marked…
                         knowledge about it. See,     the subject matter and he is
             "
                         190:17-23                    also charged with such
                                                      knowledge by virtue of his
                                                      position at Bard. The
                                                      testimony is relevant and is
                                                      not unfairly prejudicial.

McDermott,   192:12-     Rules 601 & 602. See         see Plaintiff's response to    OVERRULED
John         192:14      192: 17-193:5. The           Bard's general objection
02/05/2014               witness testified he was     above. Further, the
                         not involved in the          testimony of the witness
                         creation of this document    esrablished his knowledge of
                         and has no personal          the subject matter and he is
                         knowledge about it. Rules    also charged with such
                         401, 402, 403. Testimony     knowledge by virtue of his
                         does not involve filter at   position at Bard. The
                         issue and/or failure modes   testimony is relevant and is
                         at issue; Irrelevant and     not unfairly prejudicial.
                         any probative value
                         outweighed by prejudicial
                         effect.

McDermott,   194:17-     Rules 601, 602 & 612.        see Plaintiff's response to    OVERRULED
John         195:03      Document is after witness    Bard's general objection
02/05/2014               left the company. He has     above. Further, the
                         no personal knowledge.       testimony of the witness
                         (see 284:5) (Objection       esrablished his knowledge of
                         sustained by Judge           the subject matter and he is
                         Campbell). Rules 401,        also charged with such
                         402, 403 – Testimony         knowledge by virtue of his
                         does not involve filter at   position at Bard. The
                         issue and/or failure mode    testimony is relevant and is
                         at issue; Irrelevant and     not unfairly prejudicial.
                         any probative value
                         outweighed by prejudicial
                         effect. Witness is simply
                         confirming what the


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                         exhibit says. If testimony
                         is allowed, couters at 195-
                         196 are necessary for
                         completeness, and will
                         not make sense out of
                         context.

McDermott,   196:12-     Rules 601, 602 & 612.         see Plaintiff's response to    OVERRULED
John         197:07      Document is after witness     Bard's general objection
02/05/2014               left the company. He has      above. Further, the
                         no personal knowledge.        testimony of the witness
                         (see 284:5) (Objection        esrablished his knowledge of
                         sustained by Judge            the subject matter and he is
                         Campbell). Rules 401,         also charged with such
                         402, 403 – Testimony          knowledge by virtue of his
                         does not involve filter at    position at Bard. The
                         issue and/or failure mode     testimony is relevant and is
                         at issue; Irrelevant and      not unfairly prejudicial.
                         any probative value
                         outweighed by prejudicial
                         effect.

McDermott,   228:17-     Rules 410, 402 and 403-       No such implication. The       OVERRULED
John         228:23      implies Bard has a duty to    testimony is relevant and is
02/05/2014               patients when the law in      not unfairly prejudicial.
                         Wisconsin is that the
                         duty to warn is to the
                         physician.

McDermott,   229:04-
John         229:08
02/05/2014

McDermott,   230:08
John
02/05/2014

McDermott,   284:02-     Rules 601, 602 and 612.       see Plaintiff's response to    SUSTAIN
John         284:15      Witness has no personal       Bard's general objection
02/05/2014   beginning   knowledge of the              above. Further, the
                         document that was             testimony of the witness
             with
                         written 4 years after he      esrablished his knowledge of
             "Exhibit
                         left the company, and         the subject matter and he is
             15.."
                         counsel is reading the        also charged with such
                         document into evidence.       knowledge by virtue of his
                         See, 284:5.                   position at Bard. The




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                                                    testimony is relevant and is
                                                    not unfairly prejudicial.


McDermott,   285:01-     Rules 601, 602 and 612.    see Plaintiff's response to    SUSTAIN
John         285:10      Witness has no personal    Bard's general objection
02/05/2014   beginning   knowledge of the           above. Further, the
                         document that was          testimony of the witness
             with
                         written 4 years after he   esrablished his knowledge of
             "And if
                         left the company, and      the subject matter and he is
             you…"
                         counsel is reading the     also charged with such
                         document into evidence.    knowledge by virtue of his
                                                    position at Bard. The
                                                    testimony is relevant and is
                                                    not unfairly prejudicial.

McDermott,   285:12      Rules 601, 602 and 612.    see Plaintiff's response to    SUSTAIN
John                     Witness has no personal    Bard's general objection
02/05/2014               knowledge of the           above. Further, the
                         document that was          testimony of the witness
                         written 4 years after he   esrablished his knowledge of
                         left the company, and      the subject matter and he is
                         counsel is reading the     also charged with such
                         document into evidence.    knowledge by virtue of his
                                                    position at Bard.

McDermott,   285:14-     Rules 601, 602 and 612.    see Plaintiff's response to    SUSTAIN
John         285:21      Witness has no personal    Bard's general objection
02/05/2014               knowledge of the           above. Further, the
                         document that was          testimony of the witness
                         written 4 years after he   esrablished his knowledge of
                         left the company, and      the subject matter and he is
                         counsel is reading the     also charged with such
                         document into evidence.    knowledge by virtue of his
                                                    position at Bard. The
                                                    testimony is relevant and is
                                                    not unfairly prejudicial.

McDermott,   285:24-     Rules 601, 602 and 612.    see Plaintiff's response to    SUSTAIN
John         285:25      Witness has no personal    Bard's general objection
02/05/2014               knowledge of the           above. Further, the
                         document that was          testimony of the witness
                         written 4 years after he   esrablished his knowledge of
                         left the company, and      the subject matter and he is
                         counsel is reading the     also charged with such
                         document into evidence.    knowledge by virtue of his
                                                    position at Bard.



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McDermott,   286:02-     Rules 601, 602 and 612.      see Plaintiff's response to      SUSTAIN
John         286:04      Witness has no personal      Bard's general objection
02/05/2014               knowledge of the             above. Further, the
                         document that was            testimony of the witness
                         written 4 years after he     esrablished his knowledge of
                         left the company, and        the subject matter and he is
                         counsel is reading the       also charged with such
                         document into evidence.      knowledge by virtue of his
                                                      position at Bard. The
                                                      testimony is relevant and is
                                                      not unfairly prejudicial.

McDermott,   288:13-
John         289:03
02/05/2014

McDermott,   289:05-
John         289:07
02/05/2014

McDermott,   296:17-
John         296:22
02/05/2014

McDermott,   296:24
John
02/05/2014

McDermott,   297:01-
John         297:24
02/05/2014   beginning
             with
             "Now,
             one…"

McDermott,   303:13-     This violates the Court’s    See Plaintiff's response above   OVERRULED
John         303:23      ruling on Recovery           to Bard's general FRE 402
02/05/2014   beginning   migration deaths. The        and 403 objections. The
                         “reports” on line 13 refer   testimony is relevant and is
             with "in
                         to reports of migration      not unfairly prejudicial. It
             some…"
                         deaths. Rules 401, 402,      does not violate the court's
                         403 – Testimony does not     ruling as it does not mention
                         involve filter at issue      a Recovery cephalad
                         and/or failure mode at       migration death. It talks
                         issue; Irrelevant and any    about a physician's response
                         probative value              to one complaint of
                                                      migration. It is relevant to


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                       outweighed by prejudicial    the failure to warn and
                       effect.                      negligence claims and is not
                                                    unfarily prejudical.




McDermott,   307:01-   Rules 401, 402, 403 –        See Plaintiff's response above   OVERRULED
John         307:15    Testimony does not           to Bard's general FRE 402
02/05/2014             involve filter at issue      and 403 objections. The
                       and/or failure mode at       testimony is relevant and is
                       issue; Irrelevant and any    not unfairly prejudicial.
                       probative value              The answer to 307:14-15
                       outweighed by prejudicial    begins at 307:19 and there is
                       effect. 307:14-15 is a       no speculation.
                       question without an
                       answer – calls for
                       speculation

McDermott,   307:19-   Rules 401, 402, 403 –        See Plaintiff's response above   OVERRULED
John         307:20    Testimony does not           to Bard's general FRE 402
02/05/2014             involve filter at issue      and 403 objections. The
                       and/or failure mode at       testimony is relevant and is
                       issue; Irrelevant and any    not unfairly prejudicial.
                       probative value
                       outweighed by prejudicial
                       effect.

McDermott,   307:22-   Rules 401, 402, 403 –        See Plaintiff's response above   OVERRULED
John         307:23    Testimony does not           to Bard's general FRE 402
02/05/2014             involve filter at issue      and 403 objections. The
                       and/or failure mode at       testimony is relevant and is
                       issue; Irrelevant and any    not unfairly prejudicial.
                       probative value
                       outweighed by prejudicial
                       effect.

McDermott,   308:04-   This violates the Court’s    See Plaintiff's response above   OVERRULED
John         308:08    ruling recovery migration    to Bard's general FRE 402
02/05/2014             deaths. Rules 401, 402,      and 403 objections. The
                       403 – Testimony does not     testimony is relevant and is
                       involve filter at issue      not unfairly prejudicial.
                       and/or failure mode at       The question and answer do
                       issue; Irrelevant and any    not violate the Court's MIL
                       probative value              ruling as the question and
                       outweighed by prejudicial    answer do not mention a
                       effect. This case does not   Recovery Cephalad
                       involve a fatal migration    migration death. They
                       or a Recovery Filter. This   reference the rising number


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                       testimony is overly           of complications experienced
                       prejudicial and has no        by the filter and known to
                       bearing on the facts of       Bard and that evidence has
                       this case. The Court has      not been excluded.
                       ruled this testimony is not
                       substantially similar to
                       the facts in this case and,
                       therefore, should be
                       excluded. (See ECF No.
                       204, p. 3-5.)

McDermott,   308:10    This violates the Court’s     See Plaintiff's response above   OVERRULED
John                   ruling recovery migration     to Bard's general FRE 402
02/05/2014             deaths. Rules 401, 402,       and 403 objections. The
                       403 – Testimony does not      testimony is relevant and is
                       involve filter at issue       not unfairly prejudicial.
                       and/or failure mode at        The question and answer do
                       issue; Irrelevant and any     not violate the Court's MIL
                       probative value               ruling as the question and
                       outweighed by prejudicial     answer do not mention a
                       effect.                       Recovery Cephalad
                                                     migration death. They
                                                     reference the rising number
                                                     of complications experienced
                                                     by the filter and known to
                                                     Bard and that evidence has
                                                     not been excluded.

McDermott,   311:12-   Rules 401, 402, 403 –         See Plaintiff's response above   SUSTAIN
John         312:08    Testimony does not            to Bard's general FRE 402
02/05/2014             involve filter at issue       and 403 objections. The
                       and/or failure mode at        testimony is relevant and is
                       issue; Irrelevant and any     not unfairly prejudicial.
                       probative value
                       outweighed by prejudicial
                       effect.

McDermott,   317:15-   Rules 401, 402, 403 –         See Plaintiff's response above   SUSTAIN
John         317:21    Testimony does not            to Bard's general FRE 402
02/05/2014             involve filter at issue       and 403 objections. The
                       and/or failure mode at        testimony is relevant and is
                       issue; Irrelevant and any     not unfairly prejudicial.
                       probative value
                       outweighed by prejudicial
                       effect.




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McDermott,   320:21-
John         320:24
02/05/2014   beginning
             with "The
             comparis
             on…"

McDermott,   321:01
John
02/05/2014

McDermott,   349:17-
John         349:21
02/05/2014

McDermott,   349:25
John
02/05/2014

McDermott,   350:02-
John         350:03
02/05/2014

McDermott,   350:06
John
02/05/2014



DEPON-       DEF         PL OBJECTIONS        DEF RESPONSE TO       COURT
ENT          COUNT-                           OBJECTIONS            RULING
             ER

McDermott,   65:12-
John         65:17
02/05/2014

McDermott,   65:19
John
02/05/2014   (anybody
             )

McDermott,   65:21-
John         66:03
02/05/2014   (ends at
             other)


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McDermott,   66:07
John
02/05/2014

McDermott,   67:06-                                                                 STRIKE
John         67:07
02/05/2014

McDermott,   67:09                                                                  STRIKE
John
02/05/2014

McDermott,   69:15-      Non-responsive.             Plaintiff may not appreciate   OVERRULED
John         69:16       Objection located at        the witness' complete
02/05/2014               69:23.                      answer, but that does not
                                                     mean that it is non-
             (They're)
                                                     responsive. The designated
                                                     testimony reflects the
                                                     witness' complete response
                                                     to Plaintiff's counsel
                                                     attempting to force the
                                                     witness into a yes or no
                                                     answer with which he is
                                                     uncomfortable, and to
                                                     explain his discomfort with
                                                     that answer.

McDermott,   69:19       Non-responsive.             Plaintiff may not appreciate   OVERRULED
John                     Objection located at        the witness' complete
02/05/2014               69:23.                      answer, but that does not
                                                     mean that it is non-
                                                     responsive. The designated
                                                     testimony reflects the
                                                     witness' complete response
                                                     to Plaintiff's counsel
                                                     attempting to force the
                                                     witness into a yes or no
                                                     answer with which he is
                                                     uncomfortable, and to
                                                     explain his discomfort with
                                                     that answer.

McDermott,   69:21-      Non-responsive.             Plaintiff may not appreciate   OVERRULED
John         69:22       Objection located at        the witness' complete
02/05/2014               69:23.                      answer, but that does not
                                                     mean that it is non-
                                                     responsive. The designated


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                                                      testimony reflects the
                                                      witness' complete response
                                                      to Plaintiff's counsel
                                                      attempting to force the
                                                      witness into a yes or no
                                                      answer with which he is
                                                      uncomfortable, and to
                                                      explain his discomfort with
                                                      that answer.

McDermott,   78:15-
John         78:21
02/05/2014
             subject to
             objection

McDermott,   84:04-       Plaintiff objects under     This testimony is relevant to   OVERRULED
John         84:09        rules 401, 402 and 403.     establish that Plaintiff's
02/05/2014   subject to   Who exactly reviewed or     counsel is questioning the
                          contributed to the          witness on a document he
             objection
                          document is irrelevant to   did not be involved in
                          the issues at hand.         creating, to establish who
                                                      created the document being
                                                      discussed (contrary to
                                                      Plaintiff's objection, this
                                                      testimony does not list
                                                      individuals who contributed
                                                      to this document), and to
                                                      establish the processes at
                                                      Bard, which Plaintiff
                                                      attempts to impugn through
                                                      various other deposition
                                                      testimony.

McDermott,   84:14-       Plaintiff objects under     This testimony is relevant to   OVERRULED
John         84:16        rules 401, 402 and 403.     establish that Plaintiff's
02/05/2014                Who exactly reviewed or     counsel is questioning the
                          contributed to the          witness on a document he
             subject to
                          document is irrelevant to   did not be involved in
             objection
                          the issues at hand.         creating, to establish who
                                                      created the document being
                                                      discussed (contrary to
                                                      Plaintiff's objection, this
                                                      testimony does not list
                                                      individuals who contributed
                                                      to this document), and to
                                                      establish the processes at


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                                                      Bard, which Plaintiff
                                                      attempts to impugn through
                                                      various other deposition
                                                      testimony.



McDermott,   84:21-       Plaintiff objects under     This testimony is relevant to   OVERRULED
John         84:23        rules 401, 402 and 403.     establish that Plaintiff's
02/05/2014                Who exactly reviewed or     counsel is questioning the
                          contributed to the          witness on a document he
             subject to
                          document is irrelevant to   did not be involved in
             objection
                          the issues at hand.         creating, to establish who
                                                      created the document being
                                                      discussed (contrary to
                                                      Plaintiff's objection, this
                                                      testimony does not list
                                                      individuals who contributed
                                                      to this document), and to
                                                      establish the processes at
                                                      Bard, which Plaintiff
                                                      attempts to impugn through
                                                      various other deposition
                                                      testimony.

McDermott,   95:10-       Plaintiff objects under     This testimony is relevant to   OVERRULED
John         95:17        rules 401, 402 and 403.     establish that Plaintiff's
02/05/2014                Who exactly reviewed or     counsel is questioning the
                          contributed to the          witness on a document he
                          document is irrelevant to   did not be involved in
                          the issues at hand.         creating, to establish who
                                                      created the document being
                                                      discussed (contrary to
                                                      Plaintiff's objection, this
                                                      testimony does not list
                                                      individuals who contributed
                                                      to this document), and to
                                                      establish the processes at
                                                      Bard, which Plaintiff
                                                      attempts to impugn through
                                                      various other deposition
                                                      testimony.

McDermott,   105:16-                                                                  STRIKE
John         105:22
02/05/2014



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             (end at
             but)

McDermott,   106:01-                                                            STRIKE
John         106:07
02/05/2014   (The --)

McDermott,   107:10-                                                            STRIKE
John         107:14
02/05/2014

McDermott,   112:05-
John         112:08
02/05/2014

McDermott,   127:10-    vague                  Witness is simply attempting     OVERRULED
John         127:15                            to answer the question posed
02/05/2014                                     by Plaintiff's own counsel.
                                               Plaintiff fails to explain how
                                               the testimony is vague.

McDermott,   127:17     vague                  Witness is simply attempting     OVERRULED
John                                           to answer the question posed
02/05/2014                                     by Plaintiff's own counsel.
                                               Plaintiff fails to explain how
                                               the testimony is vague.

McDermott,   128:02-    vague                  Witness is simply attempting     OVERRULED
John         128:07                            to answer the question posed
02/05/2014                                     by Plaintiff's own counsel.
                                               Plaintiff fails to explain how
                                               the testimony is vague.

McDermott,   137:16-
John         137:20
02/05/2014

McDermott,   137:22-    non-responsive.        The witness responding that      OVERRULED
John         137:23                            he believes Bard was "always
02/05/2014                                     very transparent" is
                                               responsive to Plaintiff's
                                               counsel's question as to what
                                               might constitute
                                               transparency.

McDermott,   190:17-    FRE 602                The witness is merely            OVERRULED
John         190:23                            attempting to respond to
02/05/2014                                     Plaintiff's counsel's repeated


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             subject to                                attempts to elicit an answer,
             objection                                 and is not offering anything
                                                       outside of his own personal
                                                       understanding and
                                                       recollection.

McDermott,   192:17-      leading;answer non-          Plaintiff objects here that her   OVERRULED
John         193:05       responsive; calls for        own counsel is leading an
02/05/2014   subject to   speculation                  adverse witness, which he is
                                                       permitted to do on cross.
             objection
                                                       Moreover, the witness
                                                       provides a complete response
                                                       of what he personally
                                                       recollects regarding the
                                                       subject matter of Plaintiff's
                                                       counsel's question.

McDermott,   195:10-      non-responsive               The designated testimony is       OVERRULED
John         195:13                                    the witness' complete answer
02/05/2014                                             to the previous question. It is
                                                       directly responsive to the
             subject to
                                                       previous question, and
             objection
                                                       provides an explanation of
                                                       his answer.

McDermott,   195:23-
John         196:11
02/05/2014
             subject to
             objection

McDermott,   199:24-
John         199:25
02/05/2014
             subject to
             objection

McDermott,   229:01
John
02/05/2014

McDermott,   291:06-      Plaintiff objects under      Plaintiff's counsel's is          SUSTAIN
John         291:08       rules 401, 402 and 403.      necessary to establish why
02/05/2014   (end at      This is an unnecessary       the witness' response, which
                          and non-relevant             was designated by Plaintiff,
             was:)
                          statement/sidebar. This      appears confused.
                          also is not a question.


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      Accordingly, IT IS ORDERED that the parties’ request for rulings on objections to certain

designations is GRANTED, and the objections are sustained in part and overruled in part as

provided above.

      Entered this 5th day of June, 2021.

                                            BY THE COURT:

                                             /s/
                                             __________________________________
                                             WILLIAM M. CONLEY
                                             District Judge




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